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        Case 2:16-cv-00574-SDW-LDW Document 322 Filed 12/20/18 Page 1 of 2 PageID: 8840




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          A ttorneys for Defendants

                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY

                                                             x

          MARK BERRADA,                                      :   Honorable Susan D. Wigenton, U.S.D.J.

                                      Plaintiff,             :   Civil Action No. 16 CV 574 (SDW) (LDW)

                 V.


          GADI COHEN and PNY TECFINOLOGIES,                  :   STIPULATION OF DISMISSAL WITH
          INC., a Delaware corporation,                      :   PREJUDICE

                                      Defendants.



                                                             x

                 Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Defendants Gadi Cohen and

          PNY Technologies, Inc., (collectively “Defendants”), and Plaintiff Mark Berrada hereby stipulate

          to the dismissal of all of Defendants’ Counterclaims in this action with prejudice, with each Party

          to bear its own costs, expenses and attorneys’ fees.

                 The parties further agree and stipulate that notwithstanding the dismissal of Defendants’

          Counterclaims, Plaintiff may still appeal the Order granting Defendants’ Motion for Summary

          Judgment on Plaintiff’s claims and all of Defendants’ affirmative defenses to such claims which

          may be appealed are hereby preserved.
a   Case 2:16-cv-00574-SDW-LDW Document 322 Filed 12/20/18 Page 2 of 2 PageID: 8841




       Dated: December 20, 2018
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            Dated: December 20, 2018

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      IT IS SO ORDERED thiday of                       2018.




                                                                   ‘igenton, U.S.D.J.



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